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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :
                                                                                   10/20/2020
SALOMON FLORES,                                           :
                                                          :
                                         Plaintiff,       :
                                                          :              20-CV-6420 (VSB)
                           -against-                      :
                                                          :                  ORDER
JENNIFER ALAN RAM LTD. (D/B/A                             :
JENNY’S MARKETPLACE), et al.,                             :
                                                          :
                                         Defendants. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

         Plaintiff filed this action on August 13, 2020, (Doc. 1), and filed an affidavit of service on

Defendant Jennifer Alan Ram Ltd. on September 24, 2020, (Doc. 10). The deadline for

Defendant to respond to Plaintiff’s complaint was October 15, 2020. (See Doc. 10.) To date,

Defendant has not appeared or responded to the complaint. Plaintiff, however, has taken no

action to prosecute this case. Accordingly, if Plaintiff intends to seek a default judgment he is

directed to do so in accordance with Rule 4(H) of my Individual Rules and Practices in Civil

Cases by no later than November 9, 2020. If Plaintiff fails to do so or otherwise demonstrate that

he intends to prosecute this litigation, I may dismiss this case for failure to prosecute pursuant to

Federal Rule of Civil Procedure 41(b).

SO ORDERED.

Dated:       October 20, 2020
             New York, New York                               ________________________________
                                                              VERNON S. BRODERICK
                                                              United States District Judge
